                                           July 25, 2024

VIA ECF

Honorable Michael A. Hammer
United States Magistrate Judge
50 Walnut Street
Newark, New Jersey 07101

               Re:     Agdal v. Danis
                       Civil No. 23-16873 (MCA)(MAH)

Dear Judge Hammer:

        I am sending this letter in response to Plaintiff’s July 23, 2024 letter complaining that they
have not yet received a response to their July 18, 2024 letter listing the discovery they claim
remains outstanding, and demanding that the Court enter a new order setting new deadlines and
scheduling an in-person conference. Under the Court’s July 11, 2024 Order, Defendant’s response
to Plaintiff’s letter is due August 18, 2024. Thus, Defendant is not in violation of the Court’s
Order. For that reason, the Court should ignore Plaintiff’s letter.

        Indeed, I would have ignored it, too, but for the fact that I was surprised to see that
Plaintiff’s counsel included in their letter a paraphrase of an off-the-record remark I made to them
as professional colleagues, which was not intended for public consumption. That is not how I treat
my adversaries and, but for the fact that the letter was signed by Mr. Shumofsky in his role as local
counsel (as he was no present during the referenced conversation), I would say that New Jersey
attorneys generally do not treat their colleagues that way. Regardless, lesson learned.

         With respect to timing: Presently, I am scheduled to meet with my client in my office on
August 6, 2024, and I expect that I will have a response to Plaintiffs no later than August 18, 2024,
in full compliance with the deadlines set forth in the Court’s July 11, 2024 Order.

                                                      Sincerely yours,


                                                      Mark A. Berman, Esq.

cc: All Counsel (via ECF)
